            Case 4:95-cr-40083-JPG                      Document 486 Filed 12/18/12                    Page 1 of 3          Page ID
A0245D                                                            #466
             (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1

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                                      UNITED STATES DISTRICT COURT                                                      .__,()
                                                          Southern District of Illinois         80~1..12f?l( O£c 11 .,
                                                                                                    '1-ft:J:? us         <Ofl
         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case &~D;8~~9 1f?10 .,._
                             v.                                                                                ro",'' 1c, 'c
                                                                        (For Revocation of Probation or Supervised Releas~f..[- Or: 11 Ouf?
                Jermane C. Johnson                                                                                             tc/2 -I..Jtv 1
                                                                                                                                          o,s
                                                                        Case No. 4:95CR40083-002-JPG
                                                                        USM No. 03664-025
                                                                           Terry M. Green
                                                                                                 Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                of the term of supervision.
D   was found in violation of condition(s)            - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number                                           Nature of Violation                                   Violation Ended
Statutory                         The defendant committed the offense of False Statements                     08/01/2011



Standard# 2                       The defendant failed to submit a complete monthly report                    07/30/2009


       The defendant is sentenced as provided in pages 2 through _ _;;..3__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 7167                      12/13/2012

Defendant's Year of Birth:          1976

City and State of Defendant's Residence:
Cairo, IL 62914
                                                                                                                      District Judge
                                                                                               Name and Title of Judge

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                                                                                                           ate
           Case 4:95-cr-40083-JPG                       Document 486 Filed 12/18/12        Page 2 of 3      Page ID
AO 2450                                                           #467
          (Rev. 09/1 I) Judgment in a Criminal Case for Revocations
          Sheet lA
                                                                                       Judgment-Page   _...,2_ of      3
DEFENDANT: Jermane C. Johnson
CASE NUMBER: 4:95CR40083-002-JPG

                                                      ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number              Nature of Violation                                                             Concluded
Special                        The defendant submitted urine specimens that were diluted                     07/02/2012
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 AO 2450                                                              #468
               (Rev. 09/11) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                Judgment- Page   -"""3- of           3
 DEFENDANT: Jermane C. Johnson
 CASE NUMBER: 4:95CR40083-002-JPG


                                                                   IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 term of:
48 months




       D The court makes the following recommendations to the Bureau of Prisons:




       t/ The defendant is remanded to the custody of the United States Marshal.
       D The defendant shall surrender to the United States Marshal for this district:
           D     at  - - - - - - - - - D a.m.                        D    p.m.    on
           D     as notified by the United States Marshal.

       D   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D     before 2 p.m. on
           D     as notified by the United States Marshal.
           D     as notified by the Probation or Pretrial Services Office.

                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                        to

  at   - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                              UNITED STATES MARSHAL



                                                                                 By - - - - -DEPUTY
                                                                                             ----    - - -STATES
                                                                                                    UNITED ----   --------
                                                                                                                 MARSHAL
